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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION
  In re:                                               §
                                                       §   Chapter 11
  SCOTT VINCENT VAN DYKE,                              §
                                                       §   Case No. 21-60052
           Debtor.                                     §
                                                       §

                      MICHAEL L. NOEL’S WITNESS AND EXHIBIT LIST
                     FOR DECEMBER 15, 2021 CONFIRMATION HEARING

       Michael L. Noel (“Noel”) by and through its undersigned counsel, hereby files this Witness and

Exhibit List for the hearing on Plan of Reorganization filed by Scott Vincent Van Dyke [Docket No.

66].

                                            WITNESSES

       Noel may call any of the following as a witness at the hearing:

              1.      Scott Van Dyke (“Van Dyke”)

              2.      Mike Seely and/or Jill Hale, counsel for Noel in state court lawsuit filed against
                      Van Dyke;

              3.      Any witness called or designated by any other party in interest; and

              4.      Any witness necessary to rebut the testimony of witnesses called or designated
                      by any other party.

                                             EXHIBITS

       Noel may offer any one or more of the following exhibits at the hearing:




                                                   1
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                                                                          O
                                                                      M       O
                                                                          F       A
                                                                      A       B
                                                                          F       D
                                                                      R       J
EXHIBIT                        DESCRIPTION                                E       M
                                                                      K       E
                                                                          R       I
                                                                      E       C
                                                                          E       T
                                                                      D       T
                                                                          D
           Order Granting Judgment Creditor Gerard J. Swonke’s
           Motion to Contest the Affidavits of Net Worth and Motion
  1.
           for Injunction (signed on October 29, 2007 in Swonke
           Litigation State Court Lawsuit – Cause No. 2004-20712)

           Findings of Fact and Conclusions of Law (signed on April
  2.       25, 2012 in Investors Litigation State Court Lawsuit –
           Cause No. 2004-23845-A)

           Transcript of April 27, 2012 Hearing on Motion to Modify
  3.       Judgement in Investors Litigation State Court Lawsuit –
           Cause No. 2004-23845-A

           Email from Jett Williams (Van Dyke’s lawyer) to Mike
  4.
           Seely (Michael Noel’s lawyer) dated Jan. 14, 2020

           Rule 11 Agreement between lawyers for Noel and Van
  5.
           Dyke dated March 17, 2020

           Michael Noel v. Scott Van Dyke, et al. – Amended Agreed
  6.
           Final Judgment (signed on May 13, 2020)

           Order Granting Partial Summary Judgment (signed on
  7.
           Feb. 10, 2021)

           Amended Judgment in Builders West, Inc. v. Van Dyke
  8.
           (signed June 9, 2016)

           Final Judgment in Case No. 4:19-cv-02894 In the United
  9.       States District Court for the Southern District of Texas
           (signed by Judge Gilmore on November 10, 2021)

  10.      Anglo-Dutch Energy L.L.C. 2018 Tax Return

  11.      Anglo-Dutch Energy L.L.C. 2019 Tax Return

  12.      Anglo-Dutch Energy L.L.C. 2020 Tax Return

           Any document or pleading filed in the above-captioned
           main cases


                                               2
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                        Any exhibit necessary for impeachment and/or rebuttal
                        purposes

                        Any exhibit identified or offered by any other party

                   Noel reserves the right to use additional demonstrative exhibits as they deem appropriate in

        connection with this hearing. Noel also reserves the right to call or to introduce one or more, or none,

        of the witnesses or exhibits listed above, and further reserves the right to supplement or amend this list

        at any time prior to the hearing.

          Dated: December 13, 2021                      Respectfully submitted,

                                                       FOLEY & LARDNER LLP

                                                       /s/ David S. Elder
                                                       David S. Elder
                                                       State Bar No. 06507700
                                                       1000 Louisiana Street, Suite 2000
                                                       Houston, Texas 77002-2099
                                                       Telephone: 713-276-5500
                                                       Email: dselder@foley.com


                                                       ATTORNEYS FOR MICHAEL L. NOEL




                                             CERTIFICATE OF SERVICE

               I do hereby certify that on December 13, 2021, a true and correct copy of the foregoing Witness
        and Exhibit List was served via CM/ECF to all parties authorized to receive electronic notice in this case
        and/or by U.S. Mail, first class postage prepaid to the parties on the attached service list not receiving
        ECF notice.

                                                                      /s/ David S. Elder
                                                                      David S. Elder




                                                             3
4872-3484-5189.1
                                                  Service List
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Label Matrix for local noticing                Forest Home Plantation, LLC                Harris County, et al.
0541-6                                         c/o Leann O. Moses                         Linebarger Goggan Blair & Sampson LLP
Case 21-60052                                  1100 Poydras Street                        c/o John P. Dillman
Southern District of Texas                     Suite 3100                                 P.O. Box 3064
Victoria                                       New Orleans, LA 70163-1102                 Houston, TX 77253-3064
Mon Dec 13 10:52:22 CST 2021
Henke, Williams & Boll, LLP                    6                                          AmeriCredit/GM Financial
2929 Allen Parkway, Suite 3900                 United States Bankruptcy Court             Attn: Bankruptcy
Houston, TX 77019-7125                         PO Box 61010                               PO Box 183853
                                               Houston, TX 77208-1010                     Arlington, TX 76096-3853


(p)PNC BANK RETAIL LENDING                     Bank of America                            Big Tex Storage
P O BOX 94982                                  4909 Savarese Circle FL1-908-01-50         3480 Ella
CLEVELAND OH 44101-4982                        Tampa, FL 33634-2413                       Houston Texas 77018-6136



Builders West Inc.                             Cadence/Superior Bank                      Central Portfolio Control
8905 Friendship,                               Operations Center                          Attn: Bankruptcy Attn: Bankruptcy
Houston, Texas 77080-4111                      Birmingham, AL 35203                       10249 Yellow Circle Dr , Ste 200
                                                                                          Minnetonka, MN 55343-9111


Chase Auto Finance                             (p)JPMORGAN CHASE BANK N A                 Citibank
P.O. Box 78101                                 BANKRUPTCY MAIL INTAKE TEAM                Citicorp Credit Srvs/Centralized Bk dept
Phoenix, AZ 85062-8101                         700 KANSAS LANE FLOOR 01                   PO Box 790034
                                               MONROE LA 71203-4774                       St Louis, MO 63179-0034


City of Houston Public Works                   (p)ECHELON ANALYTICS                       Encore Bank
Attn: Effie Green                              ATTN MALINDA PISCIOTTA                     Nine Greenway Plaza
4200 Leeland                                   1717 MAIN STREET                           Houston, TX 77046-0905
Houston, TX 77023-3016                         STE 3380
                                               DALLAS TX 75201-7364

Harris County et al.                           Henke, Williams & Boll, LLP                JPMorgan Chase Bank, N.A.
c/o John P. Dillman                            2929 Allen Parkway, Suite 3900             s/b/m/t Chase Bank USA, N.A.
Linebarger Goggan Blair & Sampson LLP          Houston, Texas 77019-7125                  c/o Robertson, Anschutz & Schneid, P.L.
P.O. Box 3064                                                                             6409 Congress Avenue, Suite 100
Houston, TX 77253-3064                                                                    Boca Raton, FL 33487-2853

Johns & Hebert PLLC f/k/a Johns & Counsel PL   Libertas Funding LLC                       Michael L. Noel
2028 East Ben White Boulevard, Suite 240       382 Greenwich Ave, Ste 2                   12222 Taylorcrest
Austin, Texas 78741-6931                       Greenwich, CT 06830-6501                   Houston, TX 77024-4247



(p)PHOENIX FINANCIAL SERVICES LLC              (p)TMX FINANCE LLC FORMERLY TITLEMAX       US Trustee
PO BOX 361450                                  15 BULL STREET                             Office of the US Trustee
INDIANAPOLIS IN 46236-1450                     SUITE 200                                  515 Rusk Ave
                                               SAVANNAH GA 31401-2686                     Ste 3516
                                                                                          Houston, TX 77002-2604

Wells Fargo Bank N.A., d/b/a Wells Fargo Aut   Wells Fargo Dealer Services                Brendon D Singh
PO Box 130000                                  Attn: Bankruptcy 1100 Corporate Center D   Tran Singh, LLP
Raleigh, NC 27605-1000                         Raleigh, NC 27607-5066                     2502 La Branch Street
                                                                                          Houston, TX 77004-1028
                          Case 21-60052 Document 87 Filed in TXSB on 12/13/21 Page 5 of 7
Eva S. Engelhart, Chapter 7 Trustee                  Melissa A Haselden                                   Reese Baker
7700 San Felipe, Suite 550                           Haselden Farrow PLLC                                 950 Echo Lane, Suite 300
Houston, TX 77063-1618                               Pennzoil Place                                       Houston, TX 77024-2824
                                                     700 Milam
                                                     Suite 1300
                                                     Houston, TX 77002-2736
Scott Vincent Van Dyke                               Susan Tran Adams
1515 South Boulevard                                 Tran Singh LLP
Houston, TX 77006-6335                               2502 La Branch Street
                                                     Houston, TX 77004-1028




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BBVA Compass                                         Chase Card Services                                  Echelon Analytics, LLC
Attn: Bankruptcy                                     Attn: Bankruptcy                                     1717 Main St Ste 3380
PO Box 10566                                         PO Box 15298                                         Dallas, TX 75201
Birmingham, AL 35296                                 Wilmington, DE 19850


Phoenix Financial Services, LLC                      Titlemax of Texas
Attn: Bankruptcy                                     15 Bull St Ste 200
PO Box 361450                                        Savannah, GA 31401-2686
Indianapolis,, IN 46236




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Anzar Settlement Funding Corp.                    (u)Builders West, Inc.                               (u)Cadence Bank, N.A.




(u)Littlemill Limited                                (u)Philadelphia Indemnity Insurance Company          (u)Prosperity Settlement Funding, Inc.




(u)Andrea Lore, Individually and in Her Capac        (du)Anzar Settlement Funding Corp.                   (u)Cadence Bank




(u)Eva S. Engelhart, in Capacity as Chapter 7        (du)Littlemill Limited                               (du)Philadelphia Indemnity Insurance Company
                           Case 21-60052 Document 87 Filed in TXSB on 12/13/21 Page 6 of 7
(du)Prosperity Settlement Funding, Inc.     (u)Andrea Lore                    (u)Michael L. Noel




End of Label Matrix
Mailable recipients   34
Bypassed recipients   15
Total                 49
                         Case 21-60052 Document 87 Filed in TXSB on 12/13/21 Page 7 of 7

Anzar Settlement Funding Corp              Builders West, Inc.
                                                                                 Cadence Bank, NA
c/o Julie Goodrich Harrison                c/o Dale R Mellencamp
                                                                                 c/o Travis Clayton Badger
Norton Rose Fulbright US LLP               BairHilty PC
                                                                                 3400 Ave H, 2nd Fl
1301 McKinney St, Ste 5100                 14711 Pebble Bend Drive
                                                                                 Rosenberg, TX 77471
Houston, TX 77010                          Houston, TX 77068

Littlemill Limited                         Andrea Lore                           Philadelphia Indemnity Insurance
c/o Julie Goodrich Harrison                c/o Julie Goodrich Harrison           c/o Robert W. Miller
Norton Rose Fulbright US LLP               Norton Rose Fulbright US LLP          Manier & Herod, P.C.
1301 McKinney St, Ste 5100                 1301 McKinney St, Ste 5100            1201 Demonbreun Street, Suite 900
Houston, TX 77010                          Houston, TX 77010                     Nashville, TN 37203
                                                                                 Anglo-Dutch Energy, Anglo-Dutch (Tenge)
Prosperity Settlement Funding, Inc.        Ha Minh Nguyen
                                                                                 LLC, Anglo-Dutch Everest, LLC, Anglo-Dutch
c/o Julie Goodrich Harrison                Jason Ruff
                                                                                 (Neftenge), & Anglo-Dutch Energy Partners
Norton Rose Fulbright US LLP               Office of the United States Trustee
                                                                                 IV, LLC
1301 McKinney St, Ste 5100                 515 Rusk St., Ste. 3516
                                                                                 PO Box 22322
Houston, TX 77010                          Houston, TX 77002
                                                                                 Houston, TX 77227

                                           Builders West, Inc.
American Oil & Gas, LLC                                                          Trieagle Energy
                                           c/o Rusty Hardin & Associates, LLP
PO Box 22322                                                                     PO Box 974655
                                           1401 McKinney, Suite 2250
Houston, TX 77227                                                                Dallas, TX 75397
                                           Houston, TX 77010

                                                                                 CenterPoint Energy
AT&T U-Verse
                                           City Of Houston – Water Department    Attn: Bankruptcy
PO Box 5014
                                           PO Box 1560                           PO Box 4981
Carol Stream, IL 60197
                                           Houston, TX 77251                     Houston, TX 77210-4981



Propel Financial Services, LLC                                                   Littlemill Limited
                                           Internal Revenue Service
PO Box 100350                                                                    c/o HMH
                                           PO Box 7346
San Antonio, TX 78201                                                            3200 Travis 4th Floor
                                           Philadelphia, PA 19101
                                                                                 Houston, TX 77006


Philadelphia Indemnity Insurance Company
c/o KF&D, PLLC
909 18th Street
Plano, TX 75074
